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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

GENIE INVESTMENTS, NV, INC.

CASE NO.:3:24-bk-00496-BAJ
Debtor(s).

DEBTOR’S OBJECTION TO CLAIM 29 OF AUTONOMOUS DRONE SOLUTIONS,
DBA CALAWAY SOLUTIONS

NOTICE OF OPPORTUNITY TO
OBJECT AND REQUEST FOR HEARING

If you object to the relief requested in this paper you must file a response with the Clerk of the Court at 300
N. Hogan Street, Suite 3-150, Jacksonville, Florida 32202, and serve a copy on the movant’s attorney Bryan K.
Mickler, 5452 Arlington Expressway, Jacksonville, Florida 32211 within 30 days from the dare of the attached proof
of service, plus an additional three days if this paper was served on any party by U.S. Mail.

If you file and serve a response within the time permitted, the Court will either notify you of a hearing dated
or the Court will consider the response and grant or dent the relief requested in this paper without hearing. If you do
not file a response within the time permitted, the Court will consider that you do not oppose the relief requested in the
paper, and the Court may grant or deny the relief requested without further notice or hearing.

You should read these papers carefully and discuss them with your attorney if you have one. If the paper is
an objection to your claim in this bankruptcy case, your claim may be reduced, modified, or eliminated if you do not
timely file and serve a response.

The Debtor objects to Claim 29 in the amount of $2,500,000.00 filed by Autonomous Drone
Solutions, dba Calaway Solutions (Acct No.: “0496”).

The Debtor would show that the claim amount is disputed based on documents attached to this
objection. The creditor provided $100,000.00 in funds to Genie for the purpose of a $667,000.00 loan. The
only possible loss to this creditor was the $100,000.00 down payment amount. The creditor committee
member has filed a fraudulent claim against the estate in an attempt to increase his own personal recovery.

Therefore, this claim should only be allowed in the amount of $100,000.00.

PROOF OF SERVICE

Bryan K. Mickler, under penalty of perjury, states that a copy of the foregoing Objection was
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furnished by either U.S. Mail, postage prepaid or CM/ECF electronic filing to:

United States Trustee Office
400 W. Washington Street, Suite 1100
Orlando, Florida 32801

which is the place they regularly conduct their business; and to:

Autonomous Drone Solutions, dba Calaway Solutions
c/o Garrett Vinson Calaway, CEO/Managing Agent
7180 S. Hudson Circle

Centennial, CO 80122-7180

which is the place he regularly conducts his business.

this [¢ day of June, 2024.

_Lav€Offices of

ler & Mickler, LLP
¥

By:

B RYAN MICKLER
Attorney for Debtor

5452 Arlington Expressway
Jacksonville, FL 32211

(904) 725-0822/FAX: 725-0855
Florida Bar No. 091790
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GENIE INVESTMENTS NV, INC.
CASE NO.:3:24-bk-00496-BAJ
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DECLARATION CONCERNING DEBTOR’S OBJECTION
TO CLAIM 29 OF AUTONOMOUS DRONE SOLUTIONS, DBA CALAWAY

SOLUTIONS

I declare under penalty of perjury that the foregoing is true and correct.

Executed on: 06-17-2024

Signature: Qehn Wuchatk Cohan

John Michael Cohan, as Director
